Case 2:21-cv-00019-VAP-AS Document 15 Filed 04/21/21 Page 1 of 14 Page ID #:94




 1

 2

 3

 4

 5

 6

 7
                            UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
 9

10        NICKIE VARGAS,
                                                    Case No. 2:21-cv-00019-VAP(ASx)
11                   Plaintiff,
12             v.                                    PROTECTIVE ORDER
13        COSTCO WHOLESALE
          CORPORATION and DOES 1 to 25,
14        inclusive,
15                   Defendant(s).
16

17

18
     1.      INTRODUCTION
19
             1.1    PURPOSES AND LIMITATIONS
20
             Discovery in this action is likely to involve production of confidential,
21
     proprietary, or private information for which special protection from public
22
     disclosure and from use for any purpose other than prosecuting this litigation may
23
     be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
24
     enter the following Stipulated Protective Order. The parties acknowledge that this
25
     Order does not confer blanket protections on all disclosures or responses to
26
     discovery and that the protection it affords from public disclosure and use extends
27
     only to the limited information or items that are entitled to confidential treatment
28
Case 2:21-cv-00019-VAP-AS Document 15 Filed 04/21/21 Page 2 of 14 Page ID #:95




 1   under the applicable legal principles. The parties further acknowledge, as set forth
 2   in Section 12.3, below, that this Stipulated Protective Order does not entitle them to
 3   file confidential information under seal; Civil Local Rule 79-5 sets forth the
 4   procedures that must be followed and the standards that will be applied when a party
 5   seeks permission from the court to file material under seal.
 6         1.2    GOOD CAUSE STATEMENT
 7         This action is likely to involve trade secrets, commercial, technical and/or
 8   proprietary information for which special protection from public disclosure and
 9   from use for any purpose other than prosecution of this action is warranted. Such
10   confidential and proprietary materials and information consist of, among other
11   things, confidential business information, information regarding confidential
12   business practices, or other confidential research, development, or commercial
13   information (including information implicating privacy rights of third parties),
14   information otherwise generally unavailable to the public, or which may be
15   privileged or otherwise protected from disclosure under state or federal statutes,
16   court rules, case decisions, or common law. Accordingly, to expedite the flow of
17   information, to facilitate the prompt resolution of disputes over confidentiality of
18   discovery materials, to adequately protect information the parties are entitled to keep
19   confidential, to ensure that the parties are permitted reasonable necessary uses of
20   such material in preparation for and in the conduct of trial, to address their handling
21   at the end of the litigation, and to serve the ends of justice, a protective order for
22   such information is justified in this matter. It is the intent of the parties that
23   information will not be designated as confidential for tactical reasons and that
24   nothing be so designated without a good faith belief that it has been maintained in a
25   confidential, non-public manner, and there is good cause why it should not be part
26   of the public record of this case.
27   ///
28   ///
                                                  2
Case 2:21-cv-00019-VAP-AS Document 15 Filed 04/21/21 Page 3 of 14 Page ID #:96




 1   2.     DEFINITIONS
 2          2.1    Action: This pending federal lawsuit.
 3          2.2    Challenging Party: A Party or Non-Party that challenges the
 4   designation of information or items under this Order.
 5          2.3    “CONFIDENTIAL” Information or Items: Information (regardless of
 6   how it is generated, stored or maintained) or tangible things that qualify for
 7   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
 8   the Good Cause Statement.
 9          2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
10   their support staff).
11          2.5    Designating Party: A Party or Non-Party that designates information or
12   items that it produces in disclosures or in responses to discovery as
13   “CONFIDENTIAL.”
14          2.6    Disclosure or Discovery Material: All items or information, regardless
15   of the medium or manner in which it is generated, stored, or maintained (including,
16   among other things, testimony, transcripts, and tangible things), that are produced or
17   generated in disclosures or responses to discovery in this matter.
18          2.7    Expert: A person with specialized knowledge or experience in a matter
19   pertinent to the litigation who has been retained by a Party or its counsel to serve as
20   an expert witness or as a consultant in this Action.
21          2.8    House Counsel: Attorneys who are employees of a party to this Action.
22   House Counsel does not include Outside Counsel of Record or any other outside
23   counsel.
24          2.9    Non-Party: Any natural person, partnership, corporation, association,
25   or other legal entity not named as a Party to this action.
26          2.10 Outside Counsel of Record: Attorneys who are not employees of a
27   party to this Action but are retained to represent or advise a party to this Action and
28
                                                 3
Case 2:21-cv-00019-VAP-AS Document 15 Filed 04/21/21 Page 4 of 14 Page ID #:97




 1   have appeared in this Action on behalf of that party or are affiliated with a law firm
 2   which has appeared on behalf of that party, and includes support staff.
 3         2.11 Party: Any party to this Action, including all of its officers, directors,
 4   employees, consultants, retained experts, and Outside Counsel of Record (and their
 5   support staffs).
 6         2.12 Producing Party: A Party or Non-Party that produces Disclosure or
 7   Discovery Material in this Action.
 8         2.13 Professional Vendors: Persons or entities that provide litigation
 9   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
10   demonstrations, and organizing, storing, or retrieving data in any form or medium)
11   and their employees and subcontractors.
12         2.14 Protected Material: Any Disclosure or Discovery Material that is
13   designated as “CONFIDENTIAL.”
14         2.15 Receiving Party: A Party that receives Disclosure or Discovery
15   Material from a Producing Party.
16

17   3.    SCOPE
18         The protections conferred by this Stipulation and Order cover not only
19   Protected Material (as defined above), but also (1) any information copied or
20   extracted from Protected Material; (2) all copies, excerpts, summaries, or
21   compilations of Protected Material; and (3) any testimony, conversations, or
22   presentations by Parties or their Counsel that might reveal Protected Material.
23         Any use of Protected Material at trial will be governed by the orders of the
24   trial judge. This Order does not govern the use of Protected Material at trial.
25   ///
26   ///
27   ///
28   ///
                                                4
Case 2:21-cv-00019-VAP-AS Document 15 Filed 04/21/21 Page 5 of 14 Page ID #:98




 1   4.    DURATION
 2         Even after final disposition of this litigation, the confidentiality obligations
 3   imposed by this Order will remain in effect until a Designating Party agrees
 4   otherwise in writing or a court order otherwise directs. Final disposition will be
 5   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
 6   or without prejudice; and (2) final judgment herein after the completion and
 7   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
 8   including the time limits for filing any motions or applications for extension of time
 9   pursuant to applicable law.
10

11   5.    DESIGNATING PROTECTED MATERIAL
12         5.1    Exercise of Restraint and Care in Designating Material for Protection.
13   Each Party or Non-Party that designates information or items for protection under
14   this Order must take care to limit any such designation to specific material that
15   qualifies under the appropriate standards. The Designating Party must designate for
16   protection only those parts of material, documents, items, or oral or written
17   communications that qualify so that other portions of the material, documents,
18   items, or communications for which protection is not warranted are not swept
19   unjustifiably within the ambit of this Order.
20         Mass, indiscriminate, or routinized designations are prohibited. Designations
21   that are shown to be clearly unjustified or that have been made for an improper
22   purpose (e.g., to unnecessarily encumber the case development process or to impose
23   unnecessary expenses and burdens on other parties) may expose the Designating
24   Party to sanctions.
25         If it comes to a Designating Party’s attention that information or items that it
26   designated for protection do not qualify for protection, that Designating Party must
27   promptly notify all other Parties that it is withdrawing the inapplicable designation.
28
                                                5
Case 2:21-cv-00019-VAP-AS Document 15 Filed 04/21/21 Page 6 of 14 Page ID #:99




 1         5.2    Manner and Timing of Designations. Except as otherwise provided in
 2   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
 3   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
 4   under this Order must be clearly so designated before the material is disclosed or
 5   produced.
 6         Designation in conformity with this Order requires:
 7         (a) for information in documentary form (e.g., paper or electronic documents,
 8   but excluding transcripts of depositions or other pretrial or trial proceedings), that
 9   the Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
10   “CONFIDENTIAL legend”), to each page that contains protected material. If only a
11   portion or portions of the material on a page qualifies for protection, the Producing
12   Party also must clearly identify the protected portion(s) (e.g., by making appropriate
13   markings in the margins).
14                A Party or Non-Party that makes original documents available for
15   inspection need not designate them for protection until after the inspecting Party has
16   indicated which documents it would like copied and produced. During the
17   inspection and before the designation, all of the material made available for
18   inspection will be deemed “CONFIDENTIAL.” After the inspecting Party has
19   identified the documents it wants copied and produced, the Producing Party must
20   determine which documents, or portions thereof, qualify for protection under this
21   Order. Then, before producing the specified documents, the Producing Party must
22   affix the “CONFIDENTIAL legend” to each page that contains Protected Material.
23   If only a portion or portions of the material on a page qualifies for protection, the
24   Producing Party also must clearly identify the protected portion(s) (e.g., by making
25   appropriate markings in the margins).
26         (b) for testimony given in depositions that the Designating Party identify the
27   Disclosure or Discovery Material on the record, before the close of the deposition all
28   protected testimony.
                                                 6
Case 2:21-cv-00019-VAP-AS Document 15 Filed 04/21/21 Page 7 of 14 Page ID #:100




 1              (c) for information produced in some form other than documentary and for
 2    any other tangible items, that the Producing Party affix in a prominent place on the
 3    exterior of the container or containers in which the information is stored the legend
 4    “CONFIDENTIAL.” If only a portion or portions of the information warrants
 5    protection, the Producing Party, to the extent practicable, will identify the protected
 6    portion(s).
 7              5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
 8    failure to designate qualified information or items does not, standing alone, waive
 9    the Designating Party’s right to secure protection under this Order for such material.
10    Upon timely correction of a designation, the Receiving Party must make reasonable
11    efforts to assure that the material is treated in accordance with the provisions of this
12    Order.
13

14    6.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
15              6.1   Timing of Challenges. Any Party or Non-Party may challenge a
16    designation of confidentiality at any time that is consistent with the Court’s
17    Scheduling Order.
18              6.2   Meet and Confer. The Challenging Party will initiate the dispute
19    resolution process (and, if necessary, file a discovery motion) under Local Rule 37.1
20    et seq.
21              6.3   The burden of persuasion in any such challenge proceeding will be on
22    the Designating Party. Frivolous challenges, and those made for an improper
23    purpose (e.g., to harass or impose unnecessary expenses and burdens on other
24    parties) may expose the Challenging Party to sanctions. Unless the Designating
25    Party has waived or withdrawn the confidentiality designation, all parties will
26    continue to afford the material in question the level of protection to which it is
27    entitled under the Producing Party’s designation until the Court rules on the
28    challenge.
                                                   7
Case 2:21-cv-00019-VAP-AS Document 15 Filed 04/21/21 Page 8 of 14 Page ID #:101




 1    7.    ACCESS TO AND USE OF PROTECTED MATERIAL
 2          7.1      Basic Principles. A Receiving Party may use Protected Material that is
 3    disclosed or produced by another Party or by a Non-Party in connection with this
 4    Action only for prosecuting, defending, or attempting to settle this Action. Such
 5    Protected Material may be disclosed only to the categories of persons and under the
 6    conditions described in this Order. When the Action has been terminated, a
 7    Receiving Party must comply with the provisions of section 13 below (FINAL
 8    DISPOSITION).
 9          Protected Material must be stored and maintained by a Receiving Party at a
10    location and in a secure manner that ensures that access is limited to the persons
11    authorized under this Order.
12          7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless
13    otherwise ordered by the court or permitted in writing by the Designating Party, a
14    Receiving Party may disclose any information or item designated
15    “CONFIDENTIAL” only to:
16                (a) the Receiving Party’s Outside Counsel of Record in this Action, as
17    well as employees of said Outside Counsel of Record to whom it is reasonably
18    necessary to disclose the information for this Action;
19                (b) the officers, directors, and employees (including House Counsel) of
20    the Receiving Party to whom disclosure is reasonably necessary for this Action;
21                (c) Experts (as defined in this Order) of the Receiving Party to whom
22    disclosure is reasonably necessary for this Action, who Receiving Party will notify
23    of this Agreement and instruct its Experts to comport with this Agreement;
24                (d) the Court and its personnel;
25                (e) court reporters and their staff;
26                (f) professional jury or trial consultants, mock jurors, and Professional
27    Vendors to whom disclosure is reasonably necessary for this Action, who Receiving
28    Party will notify of this Agreement and instruct to comport with this Agreement;
                                                     8
Case 2:21-cv-00019-VAP-AS Document 15 Filed 04/21/21 Page 9 of 14 Page ID #:102




 1              (g) the author or recipient of a document containing the information or a
 2    custodian or other person who otherwise possessed or knew the information;
 3              (h) during their depositions, witnesses ,and attorneys for witnesses, in the
 4    Action to whom disclosure is reasonably necessary provided: (1) the deposing party
 5    requests that the witness sign the form attached as Exhibit A hereto; and (2) they
 6    will not be permitted to keep any confidential information unless they sign the
 7    “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
 8    agreed by the Designating Party or ordered by the court. Pages of transcribed
 9    deposition testimony or exhibits to depositions that reveal Protected Material may
10    be separately bound by the court reporter and may not be disclosed to anyone except
11    as permitted under this Stipulated Protective Order; and
12              (i) any mediator or settlement officer, and their supporting personnel,
13    mutually agreed upon by any of the parties engaged in settlement discussions.
14

15    8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
16    IN OTHER LITIGATION
17          If a Party is served with a subpoena or a court order issued in other litigation
18    that compels disclosure of any information or items designated in this Action as
19    “CONFIDENTIAL,” that Party must:
20              (a) promptly notify in writing the Designating Party. Such notification
21    will include a copy of the subpoena or court order;
22              (b) promptly notify in writing the party who caused the subpoena or order
23    to issue in the other litigation that some or all of the material covered by the
24    subpoena or order is subject to this Protective Order. Such notification will include
25    a copy of this Stipulated Protective Order; and
26              (c) cooperate with respect to all reasonable procedures sought to be
27    pursued by the Designating Party whose Protected Material may be affected.
28
                                                  9
Case 2:21-cv-00019-VAP-AS Document 15 Filed 04/21/21 Page 10 of 14 Page ID #:103




  1         If the Designating Party timely seeks a protective order, the Party served with
  2   the subpoena or court order will not produce any information designated in this
  3   action as “CONFIDENTIAL” before a determination by the court from which the
  4   subpoena or order issued, unless the Party has obtained the Designating Party’s
  5   permission. The Designating Party will bear the burden and expense of seeking
  6   protection in that court of its confidential material and nothing in these provisions
  7   should be construed as authorizing or encouraging a Receiving Party in this Action
  8   to disobey a lawful directive from another court.
  9

 10   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
 11   PRODUCED IN THIS LITIGATION
 12             (a) The terms of this Order are applicable to information produced by a
 13   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
 14   produced by Non-Parties in connection with this litigation is protected by the
 15   remedies and relief provided by this Order. Nothing in these provisions should be
 16   construed as prohibiting a Non-Party from seeking additional protections.
 17             (b) In the event that a Party is required, by a valid discovery request, to
 18   produce a Non-Party’s confidential information in its possession, and the Party is
 19   subject to an agreement with the Non-Party not to produce the Non-Party’s
 20   confidential information, then the Party will:
 21                (1) promptly notify in writing the Requesting Party and the Non-Party
 22   that some or all of the information requested is subject to a confidentiality
 23   agreement with a Non-Party;
 24                (2) promptly provide the Non-Party with a copy of the Stipulated
 25   Protective Order in this Action, the relevant discovery request(s), and a reasonably
 26   specific description of the information requested; and
 27                (3) make the information requested available for inspection by the
 28   Non-Party, if requested.
                                                 10
Case 2:21-cv-00019-VAP-AS Document 15 Filed 04/21/21 Page 11 of 14 Page ID #:104




  1             (c) If the Non-Party fails to seek a protective order from this court within
  2   14 days of receiving the notice and accompanying information, the Receiving Party
  3   may produce the Non-Party’s confidential information responsive to the discovery
  4   request. If the Non-Party timely seeks a protective order, the Receiving Party will
  5   not produce any information in its possession or control that is subject to the
  6   confidentiality agreement with the Non-Party before a determination by the court.
  7   Absent a court order to the contrary, the Non-Party will bear the burden and expense
  8   of seeking protection in this court of its Protected Material.
  9

 10   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 11         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 12   Protected Material to any person or in any circumstance not authorized under this
 13   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
 14   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
 15   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
 16   persons to whom unauthorized disclosures were made of all the terms of this Order,
 17   and (d) request such person or persons to execute the “Acknowledgment and
 18   Agreement to Be Bound” that is attached hereto as Exhibit A.
 19

 20   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 21   PROTECTED MATERIAL
 22         When a Producing Party gives notice to Receiving Parties that certain
 23   inadvertently produced material is subject to a claim of privilege or other protection,
 24   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 25   Procedure 26(b)(5)(B). This provision is not intended to modify whatever
 26   procedure may be established in an e-discovery order that provides for production
 27   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
 28   (e), insofar as the parties reach an agreement on the effect of disclosure of a
                                                 11
Case 2:21-cv-00019-VAP-AS Document 15 Filed 04/21/21 Page 12 of 14 Page ID #:105




  1   communication or information covered by the attorney-client privilege or work
  2   product protection, the parties may incorporate their agreement in the stipulated
  3   protective order submitted to the court.
  4

  5   12.   MISCELLANEOUS
  6         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  7   person to seek its modification by the Court in the future.
  8         12.2 Right to Assert Other Objections. By stipulating to the entry of this
  9   Protective Order no Party waives any right it otherwise would have to object to
 10   disclosing or producing any information or item on any ground not addressed in this
 11   Stipulated Protective Order. Similarly, no Party waives any right to object on any
 12   ground to use in evidence of any of the material covered by this Protective Order.
 13         12.3 Filing Protected Material. A Party that seeks to file under seal any
 14   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
 15   only be filed under seal pursuant to a court order authorizing the sealing of the
 16   specific Protected Material at issue. If a Party's request to file Protected Material
 17   under seal is denied by the court, then the Receiving Party may file the information
 18   in the public record unless otherwise instructed by the court.
 19

 20   13.   FINAL DISPOSITION
 21         After the final disposition of this Action, as defined in paragraph 4, within 60
 22   days of a written request by the Designating Party, each Receiving Party must return
 23   all Protected Material to the Producing Party or destroy such material. As used in
 24   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
 25   summaries, and any other format reproducing or capturing any of the Protected
 26   Material. Whether the Protected Material is returned or destroyed, the Receiving
 27   Party must submit a written certification to the Producing Party (and, if not the same
 28   person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
                                                 12
Case 2:21-cv-00019-VAP-AS Document 15 Filed 04/21/21 Page 13 of 14 Page ID #:106




  1   (by category, where appropriate) all the Protected Material that was returned or
  2   destroyed and (2) affirms that the Receiving Party has not retained any copies,
  3   abstracts, compilations, summaries or any other format reproducing or capturing any
  4   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
  5   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
  6   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
  7   reports, attorney work product, and consultant and expert work product, even if such
  8   materials contain Protected Material. Any such archival copies that contain or
  9   constitute Protected Material remain subject to this Protective Order as set forth in
 10   Section 4 (DURATION).
 11

 12   14.   Any willful violation of this Order may be punished by civil or criminal
 13   contempt proceedings, financial or evidentiary sanctions, reference to disciplinary
 14   authorities, or other appropriate action at the discretion of the Court.
 15

 16   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 17
                                                      /s/ Tiva Amiri-Davani
 18   DATED: _4/20/21______                       ______________________________
                                                  Attorneys for Plaintiff
 19

 20                                                  /s/ Heather M. Bean
      DATED: _4/20/21______                       ______________________________
 21                                               Attorneys for Defendant
 22

 23
      FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
 24

 25
             April 21, 2021
      DATED:_______________                                  / s / Sagar
                                                  __________________________________
 26                                               HON. ALKA SAGAR
                                                  United States Magistrate Judge
 27

 28
                                                 13
Case 2:21-cv-00019-VAP-AS Document 15 Filed 04/21/21 Page 14 of 14 Page ID #:107




  1                                        EXHIBIT A
  2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  3

  4         I, _____________________ [full name], of _____________________ [full
  5   address], declare under penalty of perjury that I have read in its entirety and
  6   understand the Stipulated Protective Order that was issued by the United States
  7   District Court for the Central District of California on [date] in the case of Nickie
  8   Vargas v. Costco Wholesale Corporation et al CV21-00019-VAP(ASx). I agree
  9   to comply with and to be bound by all the terms of this Stipulated Protective Order
 10   and I understand and acknowledge that failure to so comply could expose me to
 11   sanctions and punishment in the nature of contempt. I solemnly promise that I will
 12   not disclose in any manner any information or item that is subject to this Stipulated
 13   Protective Order to any person or entity except in strict compliance with the
 14   provisions of this Order.
 15         I further agree to submit to the jurisdiction of the United States District Court
 16   for the Central District of California for the purpose of enforcing the terms of this
 17   Stipulated Protective Order, even if such enforcement proceedings occur after
 18   termination of this action. I hereby appoint __________________________ [full
 19   name] of _______________________________________ [full address and
 20   telephone number] as my California agent for service of process in connection
 21   with this action or any proceedings related to enforcement of this Stipulated
 22   Protective Order.
 23   Date: ______________________________________
 24   City and State where signed: _________________________________
 25

 26   Printed name: _______________________________
 27

 28   Signature: __________________________________
                                                 14
